Case 1:19-cv-02316-REB-SKC Document 1 Filed 08/14/19 USDC Colorado Page 1 of 7




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Civil Action No.: 1:19-cv-

 DELORES ADRIANA CANO,

        Plaintiff,

 v.

 ALLSTATE FIRE AND CASUALTY INSURANCE COMPANY,

        Defendant.


                                      NOTICE OF REMOVAL


        Defendant, Allstate Fire and Casualty Insurance Company (“Allstate”), through its

 attorneys, Tucker Holmes, P.C., submits, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, the

 following Notice of Removal to the United States District Court for the District of Colorado. In

 support thereof, Defendant states:

        1.      Defendant Allstate is a named defendant in Civil Action No. 2019CV32685,

 captioned Delores A. Cano v. Allstate Fire and Casualty Insurance Company in Denver County

 District Court (the “State Court Action”). The Complaint in the State Court Action was filed

 with the Clerk of the District Court of Denver County, Colorado on July 26, 2019. (See,

 Complaint, attached hereto as Exhibit A.)

        2.      Plaintiff served the Summons and Complaint on the Defendant through the

 Division of Insurance on July 24, 2019. (See, Affidavit of Service, attached hereto as Exhibit B.)




                                                     -1-
Case 1:19-cv-02316-REB-SKC Document 1 Filed 08/14/19 USDC Colorado Page 2 of 7




 Copies of the Summons and Civil Case Cover Sheet served on Defendant are attached hereto as

 Exhibit C and Exhibit D.

         3.      This Notice of Removal is filed with this Court within thirty (30) days after the

 Plaintiff’s Complaint was served on Defendant setting forth the claims for relief upon which

 Plaintiff’s action is based.

         4.      This Court has jurisdiction over this action under 28 U.S.C. §1332, and this action

 is removable under 28 U.S.C. §1441(b) because this is a civil action between citizens of different

 states and the matter in controversy exceeds the sum of $75,000, exclusive of interest and costs.

         5.      Removal is appropriate here because there is complete diversity between the

 parties. “For the purposes of federal jurisdiction, an individual’s state citizenship is equivalent to

 domicile. To establish domicile in a particular state, a person must be physically present in the

 state and intend to remain there.” Smith v Cummings, 445 F.3d 1254, 1259-60 (10th Cir. 2006.)

        6.       At all relevant times, Plaintiff resided and was a citizen of the State of Colorado.

 (See Exhibit A, ¶ 1.) On September 1, 2016, the date of the subject accident, Plaintiff reported

 to the police that she resided at 7766 Turner Drive, Denver, CO 80221. (See Police Report

 attached as Exhibit E.). Plaintiff became an owner of a residence in Colorado at 2381 W. 59th

 Place, Denver, Colorado as of August 3, 2017. (See Adams County Residential Property Profile

 attached as Exhibit F). On May 5, 2016, Plaintiff renewed her policy of insurance with the

 Defendant in which Plaintiff represented her address to be 2381 W. 59th place, Denver, CO

 80221. (See Insurance Policy attached as Exhibit G.) Furthermore, pursuant to the police report,

 Plaintiff had a Colorado driver’s license which was first issued in 1996 along with a motor

 vehicle which was registered in Colorado (See Exhibit E.) Due to the length of time Plaintiff

                                                       -2-
Case 1:19-cv-02316-REB-SKC Document 1 Filed 08/14/19 USDC Colorado Page 3 of 7




 has resided in Colorado, Plaintiff’s intent to remain in Colorado is evident. As such, Plaintiff is

 properly domiciled in Colorado and is a citizen of the State of Colorado.

         7.      For diversity purposes, “a corporation shall be deemed to be a citizen of any State

 by which it has been incorporated and of the State where it has its principal place of business.”

 28 U.S.C. §1332(c)(1). At all relevant times, Defendant was a foreign corporation, incorporated

 in, and with its principal place of business in the State of Illinois. (See Exhibit A, ¶ 2.)

 Defendant is now and was at all relevant times a citizen of the State of Illinois for purposes of

 diversity jurisdiction.

         8.      The underlying event for this case is a motor vehicle accident involving Plaintiff

 on or about September 1, 2016. (See Exhibit A, ¶ 4; hereinafter “the Accident”). Plaintiff

 alleges that she was involved in the Accident with Wendong Wang when Ms. Wang failed to

 slow down, striking Plaintiff’s vehicle from behind. (See Exhibit A, ¶ 4.)

         9.      Plaintiff brings claims against Defendant for (1) Underinsured Motorist Benefits;

 (2) Breach of Contract; (3) First Party Statutory Claim Under C.R.S. § 10-3-1115 and § 10-3-

 1116; and, (4) Bad Faith.

         10.     Plaintiff also seeks from Defendant attorney fees and two times the covered

 benefits. (See, Exhibit A, ¶ 27.)

         11.     According to Plaintiff’s Complaint, as a result of the collision she has sustained

 past and future hospital, doctor and medical bills, lost wages and impaired earning capacity, past

 and future loss of enjoyment, past and future mental and physical pain and suffering and severe

 and permanent bodily injuries. (See Exhibit A, ¶ 5.)




                                                      -3-
Case 1:19-cv-02316-REB-SKC Document 1 Filed 08/14/19 USDC Colorado Page 4 of 7




       12.       In her Complaint, in addition to her claimed injuries and damages set forth above,

  Plaintiff also seeks interest pursuant to statute, costs pursuant to statute in case law, reasonable

  attorney’s fees, and twice the covered benefit. (See Exhibit A, wherefore clause.)

       13.       When the complaint itself does not set forth the amount of damages, the defendant

 must establish the amount in controversy by a preponderance of the evidence. WBS Connect,

 LLC v. One Step Consulting, Inc. L 4268971, 2 -3 (D.Colo. 2007). Defendant must set forth in

 the notice of removal the underlying facts that demonstrate that the amount in controversy is

 greater than $75,000. Laughlin v. Kmart Corp., 50 F.3d 871, 873 (10th Cir. 1995).

       14.       Besides the Complaint, there is other documentation a defendant may rely on for

 the basis of jurisdiction. McPhail v. Deere & Co., 529 F.3d 947, 956 (10th Cir. 2008). A

 plaintiff’s proposed settlement demand is reasonable evidence of the amount in controversy if it

 reflects a reasonable estimate of plaintiff’s claim. Id. While the use of a settlement demand at

 trial is impermissible, the court may consider such a demand when deciding this jurisdictional

 question. Id.

       15.       At all times relevant to this action, Plaintiff was insured under a policy issued by

 Defendant with coverage for uninsured/underinsured motorist benefits with limits of $100,000

 (See Exhibit A, ¶ 7).

       16.       On August 6, 2018, Plaintiff made a demand to Allstate for the policy limits of

 $100,000 regarding Plaintiff’s injuries, losses and damages. (See Exhibit H, August 6, 2018

 Demand Letter.)

       17.       Plaintiff and Defendant do not agree on the value of Plaintiff’s claim for

 underinsured motorist benefits.

                                                      -4-
Case 1:19-cv-02316-REB-SKC Document 1 Filed 08/14/19 USDC Colorado Page 5 of 7




       18.      Pursuant to the Colorado Court of Appeals case, Hansen v. American Family Mut.

 Ins. Co., Hansen v. Am. Fam. Mut. Ins. Co., 383 P.3d 28 (Colo. App. 2013), rev'd on other

 grounds, 375 P.3d 115 (Colo. 2016), if Plaintiff proves her damages are equal to or exceed the

 $100,000 policy limits, proves she is entitled to benefits under the policy, and proves those

 benefits were unreasonably delayed and denied, she is entitled to collect the policy limits of

 $100,000, plus two times the covered benefit, equaling a total of $300,000, plus attorney fees.

 Thus, pursuant to C.R.S. §§ 10-3-1115 and 10-3-1116, Plaintiff’s allegation that Defendant has

 delayed or denied the payment of benefits without a reasonable basis meets the jurisdiction

 threshold on its own.

       19.      Attorney’s fees may also be used in calculating the necessary jurisdiction amount

 in a removal proceeding when recovery is permitted by statute. See, Jones v. American Bankers

 Ins. Co. of Florida, 2011 WL 2493748, *4 (D.Colo. 2011).

       20.      Plaintiff’s Civil Case Cover Sheet also indicates her claim seeks a monetary

 judgment for more than $100,000.00 against another party, including any attorney fees, penalties

 or punitive damages, but excluding interest and costs. (See, Exhibit D, District Court Civil Case

 Cover Sheet.) The Tenth Circuit has held that the District Court Civil Case Cover Sheet is

 sufficient to give notice that the amount in controversy exceeds $75,000. Paros Properties LLC

 v. Colorado Cas. Ins. Co., No. 15-1369, 2016 WL 4502286, at *6 (10th Cir. Aug. 29, 2016)

 (“There is no ambiguity in the cover sheet. And we see no reason not to credit an assertion by an

 officer of the court on a matter of significant consequence in the state proceeding (whether or not

 simplified procedures will apply).”

       21.      Once the facts have been established, uncertainty about whether the plaintiffs can

                                                     -5-
Case 1:19-cv-02316-REB-SKC Document 1 Filed 08/14/19 USDC Colorado Page 6 of 7




 prove their substantive claims, and whether damages (if the plaintiff prevails on the merits) will

 exceed the threshold, does not justify dismissal. Only if it is ‘legally certain’ that the recovery

 (from plaintiff’s perspective) or cost of complying with the judgment (from defendants) will be

 less than the jurisdictional floor, may the case be dismissed. McPhail v. Deere & Co., 529 F.3d

 947, 955 (10th Cir. 2008) (quoting Meridian Security Ins. Co. v. Sadowski, 441 F.3d 536, 540-43

 (7th Cir. 2006)).

       22.      Pursuant to 28 U.S.C. § 1441(a), this Court is the appropriate court for filing

 Notice of Removal from the District Court of Denver County, Colorado, where the State Court

 case is currently pending. Further, jurisdiction of the Court is properly based on diversity of

 citizenship pursuant to 28 U.S.C. § 1332.

       23.      Pursuant to D.C.Colo.LCIVR 81.1, the undersigned certifies that as of the date of

 this filing, no hearing has been set in the State Court case.

       24.      Pursuant to 28 U.S.C. § 1446(d) and D.C.Colo.LCIVR 81.1, this Notice of

 Removal has been sent to all other parties in this action and has been filed with the State Court

 clerk’s office. Within fourteen days of the filing of this Notice of Removal, Defendant will file a

 current state court docket sheet (register of actions) and will separately file any pending motion,

 petition, and related response, reply and brief. Copies of the state court Complaint, Civil Case

 Cover Sheet and any Answers or Returns of Service, or orders served upon Defendant are

 submitted contemporaneously with this Notice pursuant to 28 U.S.C. § 1446(a).

        WHEREFORE, Defendant requests that the above-entitled action be removed from the

 Denver County District Court to the United States District Court of Colorado.




                                                       -6-
Case 1:19-cv-02316-REB-SKC Document 1 Filed 08/14/19 USDC Colorado Page 7 of 7




        DATED: August 14, 2019


                                           Respectfully submitted,


                                      By: s/ Kurt H. Henkel
                                          Kurt H. Henkel
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                                          Company


                               CERTIFICATE OF SERVICE

        I hereby certify that on August 14, 2019, I electronically filed the foregoing NOTICE
 OF REMOVAL with the Clerk of Court using the CM/ECF system which will send notification
 of such filing to the following e-mail addresses:

 Jeffrey S. Wittebort
 Amy E. Gaiennie
 The Gaiennie Law Office, LLC
 3801 E. Florida Avenue, Suite 100
 Denver, CO 80210
 jwittebort@gmail.com
 amy@amyglaw.com
 Attorneys for Plaintiff


                                           The duly signed original held in the file located at
                                           Tucker Holmes, P.C.

                                            /s/ Kurt H. Henkel
                                           Kurt H. Henkel




                                                 -7-
